Case 3:20-cv-00725-MMH-MCR Document 54 Filed 08/22/22 Page 1 of 13 PageID 364




                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                           JACKSONVILLE DIVISION
                        CASE NO.: 3:20-cv-00725-MMH-MCR

 JOSEPH ROGERS,

        Plaintiff,

 v.

 CENTURION OF FLORIDA, LLC,
 CORIZON OF FLORIDA, and RICKY
 DIXON, Secretary, Florida Department
 of Corrections,

        Defendants.
                                             /

      DEFENDANT CORIZON HEALTH, INC.’S MOTION TO DISMISS

        Defendant Corizon Health, Inc.1 (“Corizon”) pursuant to Federal Rule of

 Civil Procedure 12 and rule 3.01, Local Rules of the United States District Court

 for the Middle District of Florida, files this Motion to Dismiss as follows:

                                           MOTION

        1.     Plaintiff Joseph Rogers (“Rogers”) filed suit bringing federal prisoner

 medical claims against Corizon. The operative pleading is the Plaintiff’s Second

 Amended Complaint (“Complaint”) [ECF #27]

        2.     Rogers has been untruthful regarding his litigation history, has failed


 1
  Plaintiff has listed this Defendant as Corizon of Florida. The proper name for this Defendant is
 Corizon Health, Inc.
  Case 3:20-cv-00725-MMH-MCR Document 54 Filed 08/22/22 Page 2 of 13 PageID 365




    to exhaust administrative remedies and fails to state a claim against Corizon.

            3.       Therefore, the Complaint should be dismissed.

                                       MEMORANDUM OF LAW

            I.       BACKGROUND

            This is a prisoner hepatitis-c case. Rogers was a prisoner of the Florida

    Department of Corrections beginning in 1993, when he transferred from the federal

    prison system, to July 2022, when he was released from custody [ECF ##27, p. 5;

    46]. Corizon had a contract to provide medical care in certain Florida prisons from

    September 2013 until it cancelled its contract effective in April and May 2016.

            II.      ARGUMENT

                     A.      Dismissal Standard

            Under Federal Rule of Civil Procedure 8(a)(2), a pleading must contain “a

    short and plain statement of the claim showing that the pleader is entitled to relief.”

    “[T]he pleading standard does not require ‘detailed factual allegations,’ but it

    demands        more      than      an     unadorned,        the-defendant-unlawfully-harmed-me

    accusation.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citing Bell Atl. Corp. v.

    Twombly, 550 U.S. 544, 555 (2007)). Mere “labels and conclusions” or “a

    formulaic recitation of the elements of a cause of action” are insufficient. Iqbal,

    556 U.S. at 678 (citations and internal quotation marks omitted). “Nor does a

    complaint suffice if it tenders ‘naked assertion[s]’ devoid of ‘further factual

The Toomey Law Firm LLC  The Old Robb & Stucky Building, Suite 203  1625 Hendry Street  Fort Myers, Florida 33901

                                                          2
  Case 3:20-cv-00725-MMH-MCR Document 54 Filed 08/22/22 Page 3 of 13 PageID 366




    enhancement.’” Id. (citing Bell Atl. Corp., 550 U.S. at 557).

            Federal Rule of Civil Procedure 12(b)(6) permits dismissal when a

    complaint fails to state a claim upon which relief can be granted. “To survive a

    motion to dismiss, a complaint must contain sufficient factual matter, accepted as

    true, to state a claim for relief that is plausible on its face.” Iqbal, 556 U.S. at 678

    (citations and internal quotation marks omitted). A complaint states a facially

    plausible claim for relief “when the plaintiff pleads factual content that allows the

    court to draw the reasonable inference that the defendant is liable for the

    misconduct alleged.” Id. (citation omitted). The complaint must establish “more

    than a sheer possibility that a defendant has acted unlawfully.” Id.; see also Bell

    Atl. Corp., 550 U.S. at 555 (stating that “[f]actual allegations must be enough to

    raise a right to relief above the speculative level”). This inquiry is a “context-

    specific task that requires the reviewing court to draw on its judicial experience

    and common sense.” Iqbal, 556 U.S. at 679.

                     B.      Rogers was untruthful regarding his litigation history

            Rogers disclosed that he filed one case in the Middle District of Florida

    relating to the conditions of his imprisonment, and he was represented by attorneys

    from Holland & Knight. He states the case was “united” into another case that

    became a class action [ECF #27, pp. 24-25]. Based on review of his litigation

    history, the case he is referring to was filed in the Second Judicial Circuit in and

The Toomey Law Firm LLC  The Old Robb & Stucky Building, Suite 203  1625 Hendry Street  Fort Myers, Florida 33901

                                                          3
  Case 3:20-cv-00725-MMH-MCR Document 54 Filed 08/22/22 Page 4 of 13 PageID 367




    for Leon County, Florida: Joseph P. Rogers v. Michael W. Moore, Case No: 2001

    CA 001888, which was consolidated by Order dated November 16, 2001, into Case

    No: 2001 CA 001307, Gregory Henderson, et al. v. Michael W. Moore, et al. The

    First District Court of Appeal affirmed the lower court’s ruling. Henderson v.

    Crosby, 883 So. 2d 847 (Fla. 1st DCA 2004).

            However, Rogers did not disclose the following cases:

                • Middle District of Florida Case No: 3:94-cv-00565-WTH, Joseph

                     Paul Rogers v. Robert Butterworth, et al., a habeas corpus case, which

                     was dismissed on February 2, 1995 for failure to exhaust available

                     state court remedies (ECF #25).

                • Northern District of Florida Case No: 3:95-cv-30267-RV, Joseph

                     Rogers v. Harry Singletary, a Section 1983 prisoner civil rights case

                     that was dismissed on a motion to dismiss for lack of jurisdiction

                     (ECF ##7, 18, 20).

                • Middle District of Florida Case No: 3:95-cv-01007-HES, Joseph Paul

                     Rogers v. Harry K. Singletary, Jr., et al., a Section 1983 prisoner civil

                     action that was dismissed in the first instance.

                • Middle District of Florida Case No: 3:96-cv-00096-RWN-J_S, Joseph

                     Paul Rogers v. Harry K. Singletary, Jr., et al., another habeas petition



The Toomey Law Firm LLC  The Old Robb & Stucky Building, Suite 203  1625 Hendry Street  Fort Myers, Florida 33901

                                                          4
  Case 3:20-cv-00725-MMH-MCR Document 54 Filed 08/22/22 Page 5 of 13 PageID 368




                     that was denied. Rogers appealed to the 11th Circuit, Case No: 98-

                     2988, which dismissed the appeal on May 24, 1999.

                • Middle District of Florida Case No: 3:99-cv-00390-HLA, Joseph Paul

                     Rogers v. Michael Moore, et al., another habeas petition dismissed as

                     procedurally defaulted on March 28, 2001(ECF #52) and the 11th

                     Circuit denied his certificate of appealability on October 25, 2001 in

                     Case No: 01-12920.

                • Middle District of Florida Case No: 3:01-cv-00519-RWN, John

                     Beatty, Charles E. Davis and Joseph Paul Rogers v. Michael W.

                     Moore, a Section 1983 Prisoner Civil Rights case involving

                     equipment in a prison law library. The case was dismissed on May 17,

                     2001 for failure to exhaust administrative remedies according to the

                     PLRA (ECF #2).

                • Middle District of Florida Case No: 3:04-cv-01166-TJC-MMH,

                     Joseph Paul Rogers v. Teresa J. Sopp, et al., a Section 1983 claim

                     alleging state attorneys coerced him to plead guilty. The claim was

                     dismissed as frivolous on December 6, 2004 as frivolous (ECF #7).

                     Rogers appealed, and the 11th Circuit, which also dismissed as

                     frivolous on July 1, 2005 in Case No: 05-10294.

            Rogers signed the Complaint under penalty of perjury. His false answer

The Toomey Law Firm LLC  The Old Robb & Stucky Building, Suite 203  1625 Hendry Street  Fort Myers, Florida 33901

                                                          5
  Case 3:20-cv-00725-MMH-MCR Document 54 Filed 08/22/22 Page 6 of 13 PageID 369




    affects the Court's ability to review the claims according to the PLRA. The 11 th

    Circuit determined that false statements regarding prior lawsuits count as a strike.

    Rivera v. Allin, 144 F.3d 719, 731 (11th Cir. 1998), abrogated on other grounds

    Jones v. Bock, 549 U.S. 199 (2007). But there’s more: according to his history,

    Rogers was a three-strikes offender of the PLRA long before filing this case, so his

    untruthfulness allowed this case to proceed, where it otherwise would not.

            The proper solution is at hand. Federal Rule of Civil Procedure 11(b)

    "forbids lying in pleadings, motions, and other papers filed with the court."

    Zocaras v. Castro, 465 F.3d 479, 484 (11th Cir. 2006) and the rule allows for

    sanctions for that conduct. Fed. R. Civ. P. 11(c). The sanction “must be limited to

    what suffices to deter repetition of the conduct or comparable conduct by others

    similarly situated." McDonald v. Emory Healthcare Eye Ctr., 391 F. App'x 851,

    853 (11th Cir. 2010) (quoting Fed. R. Civ. P. 11(c)(4)). Rule 41(b) "provides for

    dismissal with prejudice as the ultimate sanction for violation of the rules.".

    Zocaras, 465 F.3d at 490; State Exch. Bank v. Hartline, 693 F.2d 1350, 1352 (11th

    Cir.1982). Springs v. Gielow, No. 3:14cv105/MCR/EMT, 2015 U.S. Dist. LEXIS

    40277, 2015 WL 1458273, *29 (N.D. Fla. Mar. 28, 2015) (recommending

    prosecution for perjury based on repeated untruthful testimony).

            Therefore, the Complaint is subject to dismissal for Rogers’ purposeful

    failure to provide truthful disclosure of his prior litigation history and because he is

The Toomey Law Firm LLC  The Old Robb & Stucky Building, Suite 203  1625 Hendry Street  Fort Myers, Florida 33901

                                                          6
  Case 3:20-cv-00725-MMH-MCR Document 54 Filed 08/22/22 Page 7 of 13 PageID 370




    a three-strikes offender of the PLRA.

                     C.      Rogers failed to exhaust administrative remedies

            “Section 1997e(a), enacted as part of the Prison Litigation Reform Act,

    provides that a prisoner must exhaust all available administrative remedies before

    bringing a federal action challenging prison conditions.” Parzyck v. Prison Health

    Servs., Inc., 627 F.3d 1215, 1218 (11th Cir. 2010) (citation omitted); see also

    Hollingsworth v. Brown, 788 So.2d 1078, 1079-80 (Fla. 1st DCA 2001). This is a

    mandatory requirement, Woodford v. Ngo, 548 U.S. 81, 85 (2006), and “applies to

    all inmate suits about prison life, whether they involve general circumstances or

    particular episodes, and whether they allege excessive force or some other wrong.”

    Porter v. Nussle, 534 U.S. 516, 532 (2002); see also Johnson v. Meadows, 418

    F.3d 1152, 1155 (11th Cir. 2005).

            An inmate has properly exhausted all available remedies when the inmate

    has used “all steps that the [prison] holds out, and doing so properly (so that the

    [prison] addresses the issues on the merits).” Woodford, 548 U.S. at 90 (emphasis

    in original) (quotation omitted). “Proper exhaustion demands compliance with an

    agency’s deadlines and other critical procedural rules because no adjudicative

    system can function effectively without imposing some orderly structure on the

    course of its proceedings.” Id. at 90-91. “Congress intended to afford prison

    officials time to address grievances internally before allowing a prisoner to initiate

The Toomey Law Firm LLC  The Old Robb & Stucky Building, Suite 203  1625 Hendry Street  Fort Myers, Florida 33901

                                                          7
  Case 3:20-cv-00725-MMH-MCR Document 54 Filed 08/22/22 Page 8 of 13 PageID 371




    a federal lawsuit.” Johnson, 418 F.3d at 1155. While an inmate is not required to

    name every involved party in a grievance, he still must provide “all relevant

    information reasonably available to him.” Brown v. Sikes, 212 F.3d 1205, 1208

    (11th Cir. 2000). The “critical function of the grievance procedure is [to] provide

    the institution with notice of a problem such that they have an opportunity to

    address the problem internally,” Toenninges v. Georgia Dept. of Corrections, 600

    Fed. Appx. 645, 649 (11th Cir. 2015); Goldsmith v. White, 357 F. Supp. 2d 1336,

    1340, 1341 (N.D. Fla. 2005) (“Mr. Goldsmith … failed…to mention the core facts

    on which his claim was based (that he is homosexual, and that Officer White used

    a bigoted reference to homosexuality when he took the action at issue)”); See

    Williams v. Barrow, 559 Fed. Appx. 979, 986 (11th Cir. 2014)(“Nor does that

    grievance describe any conduct of Warden Oubre and Dr. Sachdeva).

            The Florida Department of Corrections has a grievance procedure, which is

    set forth in Chapter 33-103 of the Florida Administrative Code.                                 Generally,

    inmates must begin the grievance process by submitting an informal grievance to

    the designated staff member, who forwards the informal grievance to the staff

    member responsible in the particular area of the problem. § 33-103.005(1). If an

    inmate feels the grievance has not been satisfactorily resolved during the formal

    grievance procedure, an appeal may be submitted to the Office of the Secretary.

    § 33-103.007(1). Grievance appeals may be returned without action if the inmate

The Toomey Law Firm LLC  The Old Robb & Stucky Building, Suite 203  1625 Hendry Street  Fort Myers, Florida 33901

                                                          8
  Case 3:20-cv-00725-MMH-MCR Document 54 Filed 08/22/22 Page 9 of 13 PageID 372




    submits more than two additional pages of narrative along with the appeal. §§ 33-

    103.007(2)(b), 33-103.014(t). Appeals are also returned without action if they are

    not received in the Secretary’s Office within fifteen calendar days from the date the

    response to the formal grievance is returned to the inmate. § 33-103.014(i).

    Williams v. Dep't of Corr., 2017 U.S. App. LEXIS 1805, 2017 WL 432793 *6

    (11th Cir. Fla. Feb. 1, 2017)(describing the procedure); Wheeler v. Davis, 2016

    U.S. Dist. LEXIS 115824 *5-6 (N.D. Fla. Aug. 5, 2016)(same).

            According to the record, Rogers never filed a grievance regarding his

    medical treatment before filing suit. The Florida Department of Corrections filed

    Rogers’ grievances and the grievance log in the record [ECF ##48-1, 48-2]. The

    only grievance he filed before filing and regarding his hepatitis-c treatment was on

    April 11, 2016 [ECF #48-1]. The denial of the grievance was appealed and

    returned for failure to comply with FDOC rules [ECF #48-1, pp. 3-6].

            The process was obviously available, as he filed grievances. However, he

    never completed the process by properly seeing it through appeal. Because he

    never completed the process, his claims should go no further.

                     D.      The Complaint is a shotgun pleading.

            Complaints that violate Rules 8 and 10 of the Federal Rules of Civil

    Procedure are often referred to as “shotgun pleadings.” Although there are

    different types of shotgun pleadings, each "fail[s] to one degree or another . . . to

The Toomey Law Firm LLC  The Old Robb & Stucky Building, Suite 203  1625 Hendry Street  Fort Myers, Florida 33901

                                                          9
 Case 3:20-cv-00725-MMH-MCR Document 54 Filed 08/22/22 Page 10 of 13 PageID 373




    give the defendants adequate notice of the claims against them and the grounds

    upon which each claim rests." Weiland v. Palm Beach County Sheriff’s Office, 792

    F.3d 1313, 1320 (11th Cir. 2015). In Weiland, the court discussed four types

    of "shotgun" pleadings which require dismissal:

                     The most common type—by a long shot—is a complaint
                     containing multiple counts where each count adopts the
                     allegations of all preceding counts, causing each successive
                     count to carry all that came before and the last count to be a
                     combination of the entire complaint. The next most common
                     type . . . is a complaint . . . replete with conclusory, vague,
                     and immaterial facts not obviously connected to any
                     particular cause of action. The third type of shotgun pleading
                     is one that commits the sin of not separating into a different
                     count each cause of action or claim for relief. Fourth, and
                     finally, there is the relatively rare sin of asserting multiple
                     claims against multiple defendants without specifying which
                     of the defendants are responsible for which acts or
                     omissions, or which of the defendants the claim is brought
                     against.

            Weiland at 1321-23 (footnotes omitted). All four types of “shotgun”

    pleadings are deficient because “they fail . . . to give the defendants adequate

    notice of the claims against them and the grounds upon which each claim rests.”

    Id. At 1323 (footnote omitted); see also Anderson v. Dist. Bd. Of Trs. Of Cent. Fla.

    Cmty. Coll., 77 F.3d 364, 366 (11th Cir. 1996). See Crowe v. Coleman, 113 F.3d

    1536, 1539 (11th Cir. 1997) (explaining that where a complaint alleges claims

    against multiple defendants in a single count, the allegations should be read in such

    a way that they are directed at each defendant individually); Williams v. Wells
The Toomey Law Firm LLC  The Old Robb & Stucky Building, Suite 203  1625 Hendry Street  Fort Myers, Florida 33901

                                                         10
 Case 3:20-cv-00725-MMH-MCR Document 54 Filed 08/22/22 Page 11 of 13 PageID 374




    Fargo Bank NA., No. 11-213-233-CIV, 2011 U.S. Dist. LEXIS 159463, 2011 WL

    13115562, at *5 (S.D. Fla. Oct. 3, 2011).

            This Complaint is of the third type: Rogers does not separate his claims into

    counts. Instead, he seems to bring contract claims [ECF #27, p. 6]; state law claims

    according to Section 825.101, Florida Statutes (2022), which is the definitions

    section of a criminal statute regarding abuse of the elderly [ECF #27, pp. 6-8]; and

    clams under the Rehabilitation Act and Americans with Disabilities Act, which are

    intermingled with something of an 8th Amendment claim [ECF #27, pp. 6-8]. None

    of it is set in counts, so Corizon has no chance to determine which claims apply to

    it. The Complaint is a shotgun pleading; it must be dismissed.

            III.     CONCLUSION

            For the foregoing reasons, Corizon requests that this Court grant its motion

    to dismiss.

                             LOCAL RULE 3.01(g) CERTIFICATION

            Pursuant to Local Rule 3.01(g), the undersigned hereby certifies that he

    spoke with the Plaintiff via telephone regarding this motion. Plaintiff opposes the

    motion.

                                              By:       /s/ Gregg A. Toomey
                                                      Gregg A. Toomey
                                                      Florida Bar No. 159689



The Toomey Law Firm LLC  The Old Robb & Stucky Building, Suite 203  1625 Hendry Street  Fort Myers, Florida 33901

                                                         11
 Case 3:20-cv-00725-MMH-MCR Document 54 Filed 08/22/22 Page 12 of 13 PageID 375




                                     CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on this 22nd day of August, 2022 I electronically
    filed the foregoing with the Clerk of the Court by using the CM/ECF System, and
    will send a copy of the foregoing via U.S. Mail and/or electronically to the
    following:

     Joseph Rogers                                        Brian A. Wahl
     1190 Bulls Head Road                                 Carmen Weite
     Clinton Corners, NY 12514                            Bradley Arant Boult Cummings LLP
     Pro Se                                               Attorneys for Defendant Centurion
                                                          One Federal Place-1819 5th Avenue, N.
                                                          Birmingham, AL 35203
                                                          P: 205-521-8000
                                                          F: 205-521-8800
                                                          E: bwahl@bradley.com
                                                          cweite@bradley.com
                                                          tramsay@bradley.com

     Jacob Hanson                                         Shirley Wilson Durham
     Bradley Arant Boult Cummings LLP                     Office of the Attorney General
     Attorneys for Defendant Centurion                    Attorneys for Defendant Dixon
     100 N. Tampa Street, Suite 2200                      The Capitol, PL-01
     Tampa, FL 33602                                      Tallahassee, FL 32399-1050
     P: 813-559-5500                                      P: 904-456-642
     F: 813-229-5946                                      F: 904-858-6983
     E: jhanson@bradley.com                               E: Shirley.durham@myflorida.legal.com
     tabennett@bradley.com
     sdhayes@bradley.com




The Toomey Law Firm LLC  The Old Robb & Stucky Building, Suite 203  1625 Hendry Street  Fort Myers, Florida 33901

                                                         12
 Case 3:20-cv-00725-MMH-MCR Document 54 Filed 08/22/22 Page 13 of 13 PageID 376




                                                          THE TOOMEY LAW FIRM LLC
                                                          Attorneys for Defendant Corizon
                                                          The Old Robb & Stucky Building
                                                          1625 Hendry Street, Suite 203
                                                          Fort Myers, FL 33901
                                                          Phone: 239.337.1630
                                                          Fax: 239-337.0307
                                                          Email: gat@thetoomeylawfirm.com,
                                                          alr@thetoomeylawfirm.com, and
                                                          hms@thetoomeylawfirm.com

                                                          By:       /s/ Gregg A. Toomey
                                                                  Gregg A. Toomey
                                                                  Florida Bar No. 159689




The Toomey Law Firm LLC  The Old Robb & Stucky Building, Suite 203  1625 Hendry Street  Fort Myers, Florida 33901

                                                         13
